Case 2:08-cr-00137-WFN   ECF No. 1668   filed 10/14/09   PageID.5582 Page 1 of 6
Case 2:08-cr-00137-WFN   ECF No. 1668   filed 10/14/09   PageID.5583 Page 2 of 6
Case 2:08-cr-00137-WFN   ECF No. 1668   filed 10/14/09   PageID.5584 Page 3 of 6
Case 2:08-cr-00137-WFN   ECF No. 1668   filed 10/14/09   PageID.5585 Page 4 of 6
Case 2:08-cr-00137-WFN   ECF No. 1668   filed 10/14/09   PageID.5586 Page 5 of 6
Case 2:08-cr-00137-WFN   ECF No. 1668   filed 10/14/09   PageID.5587 Page 6 of 6
